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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF DELAWARE

 In re:
                                                         Chapter 11
 BLUESTEM BRANDS INC.,
                                                         Case No. 20-10566 (MFW)
                       Debtors.
                                                         (Jointly Administered)

                                        NOTICE OF APPEARANCE

            Please take notice that in accordance with Fed. R. Bankr. P. 2002, 9007 and 9010(b) the

undersigned enters an appearance in these cases on behalf of creditor Fuzion Creations, LLC .

Request is made that the documents filed in this case and identified below be served on the

undersigned at this address:

            ADDRESS:      GREENBAUM, ROWE, SMITH & DAVIS LLP
                          99 Wood Avenue South
                          Iselin, New Jersey 08830
                          Attention: David L. Bruck, Esq.
                          Telephone: (732) 476-2442
                          Telecopy: (732) 549-1881
                          Email: dbruck@greenbaumlaw.com

            Please take further notice that pursuant to Section 1109(b) of the Bankruptcy Code, the

foregoing demand includes not only the notices and papers referred to in the Bankruptcy Rules

and sections of the Bankruptcy Code specified above, but also includes, without limitation, any

order, notice, application, complaint, demand, motion, petition, pleading, request, disclosure

statement or plan of reorganization, and any other document brought before the Bankruptcy Court

with respect to these cases and any related proceedings, whether formal or informal, whether

written or oral and whether transmitted or conveyed by mail, delivery, telephonic, electronic mail

or otherwise filed or made with regard to the above-captioned cases and proceedings herein.




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            Please take further notice that neither this notice nor any later appearance, pleading, claim

or suit shall waive any rights to: 1) challenge the jurisdiction of the Bankruptcy Court to adjudicate

any matter, including, without limitation, any non-core matter; 2) have final orders in non-core

matters entered only after de novo review by the District Court; 3) trial by jury in any proceeding

so triable in these cases or any case, controversy or proceeding related to these cases; 4) have the

District Court withdraw that reference in any matter subject to mandatory or discretionary

withdrawal; or 5) any other rights, claims, actions, setoffs, or recoupments to which Beatrice Home

Fashions, is or may be entitled, in law or in equity, all of which rights, claims, actions, defenses,

setoffs and recoupments are expressly reserved.

Dated: July 7, 2020


                                           Greenbaum, Rowe, Smith & Davis LLP

                                           /s/ David L. Bruck
                                           Metro Corporate Campus One
                                           P.O. Box 5600
                                           Woodbridge, New Jersey 07095
                                           (732) 476-2442
                                           dbruck@greenbaumlaw.com
                                           Counsel for Creditor Fuzion Creations, LLC




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